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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------X
UNITED STATES OF AMERICA                                              :
                                                                      :      17 Cr. 415 (PAC)
        - against -                                                   :
                                                                      :      OPINION & ORDER
Luigi Jaquez,                                                         :
            Defendant.                                                :
-------------------------------------------------------------------------X
        Defendant Luigi Jaquez was sentenced by this Court to 70-months imprisonment for his

involvement in a 2008 murder that occurred during the course of an attempted Hobbs Act

robbery. Jaquez has been incarcerated at the MDC Brooklyn 1 where, to date, he has served

approximately 45-months out of his 70-month sentence. He now moves for early release under

the Compassionate Release Statute at 18 U.S.C. § 3582(c)(1)(A)(i), arguing that extraordinary

and compelling reasons exist due to his certain underlying health conditions that make him

particularly vulnerable to the COVID-19 virus. Additionally, he contends that his compassionate

release would be consistent with the sentencing factors set forth in 18 U.S.C. § 3553(a). The

Government concedes that Jaquez exhausted his administrative remedies and satisfies the

requirements for extraordinary and compelling reasons, but that the § 3553(a) factors weigh

against a sentence reduction under the Compassionate Release Statute. Upon due consideration

of the parties’ arguments, the Court DENIES the motion.




1
 In an email dated January 13, 2021, the Government notified the Court that Jaquez had been
physically transferred from the MDC Brooklyn to his permanent BOP facility.
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                                          BACKGROUND

    I.        Factual Background

         In 2008, Defendant Luigi Jaquez’s life took a turn for the worst when he participated in a

criminal conspiracy with two co-defendants to rob Maximiliano Campusano, a local narcotics

dealer. 2 (Presentence Report (“PSR”), at 24, ECF 68.) Jaquez’s role in the conspiracy consisted

of recruiting two men to commit the robbery and supplying them with a firearm to execute the

offense. (Id.) The two men Jaquez had recruited subcontracted their work to two other men,

who ultimately attempted the robbery and killed Campusano (Id.) Jaquez did not intend or

expect anyone to be shot during the robbery; but, as is too often the case, the plan backfired

when the robbers entered Campusano’s apartment and shot the victim to death. (See id.; Sent’g

Tr. at 25.)

         Jaquez was arrested for this offense nearly a decade later in July 2017. (Gov’t Opp. Br.

at 1.) Facing serious prison time, he promptly entered into a cooperation agreement with the

Government and pled guilty to five criminal counts:

              •   Count One: Aiding and abetting the use of a firearm in the commission of felony

                  murder, in violation of 18 U.S.C. § 924(j)(1);

              •   Counts Two & Three: Conspiring, and aiding and abetting an attempted Hobbs

                  Act robbery, in violation of 18 U.S.C. § 1951;

              •   Count Four: Conspiring to distribute narcotics, in violation of 21 U.S.C. §§ 846

                  and 841(b)(1)(A); and




2
 In connection with the same offense, Jaquez’s two co-defendants, Karilie Herrera and Sacha
Santiago, were sentenced by this Court to 120-months and 35-months, respectively.


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             •   Count Five: Using a gun, which was discharged, during the narcotics conspiracy,

                 in violation of 18 U.S.C. § 924(c)(1)(A)(iii).

(PSR, at 1–2; Gov’t Opp. Br. at 1.)

Count One called for a mandatory minimum sentence of five years imprisonment while Counts

Four and Five each called for a mandatory minimum of ten years, respectively. (PSR, at 1–2.)

In the aggregate, the Sentencing Guidelines exposed Jaquez to 360-months to life imprisonment.

(Id. at 23.) However, based on his cooperation agreement with the Government and the

substantial assistance he had rendered in exposing other related crimes, the Government filed a

5K1.1 motion at sentencing and thereby permitted the Court to entertain a departure from the

applicable Guidelines range. (Sent’g Tr. at 26–27.)

          The Presentence Report (“PSR”) recommended a custodial sentence of 48-months on the

grounds that Jaquez had been forthcoming and of substantial assistance to the Government, and

because he had been raised, throughout childhood, in a troubled, single-mother household

plagued by alcohol abuse. (PSR, at 24–26.) Jaquez advocated for a sentence of time served,

which, at that point, amounted to a 37-month sentence. 3 (Sent’g Tr. at 24.) The Government

took no position on an appropriate sentence. (Id. at 21–22.)

          In July 2020, the Court sentenced Jaquez to 70-months imprisonment and five years of

supervised release. (Id. at 27–28.) The Court took into consideration mitigating factors, namely

his troubled upbringing, but nevertheless found that the underlying crime, murder, and Jaquez’s

involvement, hiring the robbers and providing the firearm, to be an exceedingly serious offense

in need of a commensurate sentence. (Id. at 25.) (“I have to impose a sentence that reflects the

seriousness of that offense. I also have to promote respect for the law. A human life, we’re told



3
    Jaquez has been in federal custody since his arrest in July 2017. (Gov’t Opp. Br. at 1.)
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that human life is very important, that black lives matter, that all lives matter. And here, one was

needlessly snuffed out.”). In addition, the Court considered Jaquez’s extensive criminal history

and his demonstrated proclivity towards resorting to a life of crime. (Id. at 26.) (“I’m

particularly troubled by the fact that Mr. Jaquez returns very quickly to his prior pattern of

existence when he is released from his incarceration.”) Taking all these circumstances together,

the Court concluded that 70-months was “sufficient but not greater than necessary” to achieve

the goals of punishment. 4 (Id. at 31.)

    II.      Jaquez’s Compassionate Release Motion

          In September 2020, Jaquez petitioned the Warden of the MDC Brooklyn for

compassionate release, citing the exigent circumstances wrought on by the COVID-19 pandemic.

(Jaquez Br. at 5.) The Warden denied the petition approximately three months later. 5 (Gov’t

Opp. Br. at 2.) In December 2020, he filed his compassionate release motion pro se before this

Court and shortly thereafter, defense counsel submitted a supplemental brief in support of the




4
 The Court also concluded that a 70-month incarceratory sentence would avoid unwarranted
sentencing disparities between Jaquez and his co-defendants, and that his cooperation with the
Government, while helpful, “just confirmed what the government already knew.” (Sent’g Tr. at
26–27.)
5
  The Government claims that the Warden denied Jaquez’s petition in December 2020 (Gov’t
Opp. Br. at 2) but Jaquez asserts that he has yet to hear back from the Warden about his
compassionate release petition. (Jaquez Br. at 5.) The Court does not need to resolve this factual
inconsistency because even if what the Government says is true—that the Warden denied the
petition in December 2020—30 days would have lapsed between the petition’s initial filing and
the Warden’s denial, thereby satisfying the administrative exhaustion requirement under the
Compassionate Release Statute. See 18 U.S.C. § 3582(c)(1)(A) (stating that the administrative
exhaustion requirement is met where there is a “lapse of 30 days from the receipt of such a
request by the warden of the defendant’s facility”). In any event, the Government concedes that
Jaquez has satisfied the exhaustion requirement under the Compassionate Release Statute.


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motion. 6 Jaquez, who is 31-years old, contends that extraordinary and compelling reasons exist

because he suffers from asthma and obesity—two health conditions that accentuate his risk of

contracting a severe illness from the COVID-19 virus. (Pro Se Br. at 3; Jaquez Br. at 7–10.) He

also contends that under the 18 U.S.C. § 3553(a) sentencing factors, the goals of his

incarceration have been met, and accordingly, that early release is warranted under the

Compassionate Release Statute. 7 (Pro Se Br. at 6–7; Jaquez Br. at 11–13.)

                                             DISCUSSION

       I.       Compassionate Release Statute

       Under the Compassionate Release Statute, a district court may grant compassionate

release where (1) “extraordinary and compelling reasons warrant such a reduction”; (2) “such a

reduction is consistent with applicable policy statements issued by the Sentencing Commission”;

and (3) upon due consideration of the relevant factors as set forth in section 18 U.S.C. § 3553(a).

See 18 U.S.C. § 3582(c)(1)(A)(i). In the context of the COVID-19 pandemic, courts have

interpreted the “extraordinary and compelling” factor to require a “fact-intensive” inquiry

centering “on the defendant’s condition, not general societal conditions.” See United States v.

Shakur, No. 82 CR 312 (CSH), 2020 WL 1911224, at *1 (S.D.N.Y. Apr. 20, 2020).

Accordingly, courts within this district have considered the defendant’s age, see United States v.

Rodriguez, 16-CR-167 (LAP), 2020 WL 1866040, at *3 (S.D.N.Y. Apr. 14, 2020), the nature

and severity of the defendant’s health conditions, see United States v. Zehner, 19 Cr. 485 (AT),

2020 WL 1892188, at *2 (S.D.N.Y. Apr. 15, 2020), the public health concerns specific to the



6
 For purposes of deciding this motion, the Court considers both Jaquez’s pro se filing and the
supplemental submission made by defense counsel.
7
 Jaquez requests that he be granted compassionate release and allowed to serve the rest of his
prison term in home confinement. (Jaquez Br. at 1.)
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defendant’s prison facility, see United States v. Simmons, 15 Cr. 445 (PAE), 2020 WL 1847863,

at *1 (S.D.N.Y. Apr. 13, 2020), and the proportion of the defendant’s sentence already served.

See United States v. Haney, 19-cr-541 (JSR), 2020 WL 1821988, at *7 (S.D.N.Y. Apr. 13, 2020).

Separately, courts have also considered the sentencing factors under 18 U.S.C. § 3553(a) with a

particular emphasis on the seriousness of the offense, the deterrent effect of the punishment, and

the need to protect the public. 8 See, e.g., United States v. Martin, 18-CR-834-7 (PAE), 2020 WL

1819961, at *3–4 (S.D.N.Y. Apr. 10, 2020).

          II.    Application

          The Government concedes that Jaquez’s two underlying health conditions, asthma and

obesity, combined with the COVID-19 pandemic, constitute extraordinary and compelling

reasons for a sentence reduction under the Compassionate Release Statute. (Gov’t Opp. Br. at

2.) Extraordinary and compelling reasons alone, however, are insufficient to grant

compassionate release; this is especially so here because Jaquez has been moved from the MDC

Brooklyn, which means that the conditions there are no longer relevant. Accordingly, the Court

must also consult the § 3553(a) factors. Martin, 2020 WL 1819961, at *3–4. Because the Court

finds that the § 3553(a) factors weigh against compassionate release, Jaquez’s motion must be

denied.




8
  To be sure, the Compassionate Release Statute also instructs courts to consider “applicable
policy statements issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A). But
following the Second Circuit’s decision in United States v. Brooker, 976 F.3d 228 (2d Cir. 2020),
the Sentencing Commission’s policy statement on compassionate release, Guideline 1B1.13, no
longer applies to compassionate release motions brought directly by inmates. See id. at 235–36
(“[W]e read the Guideline [1B1.13] as surviving, but now applying only to those motions that
the BOP has made.”). Because Jaquez has directly moved for compassionate release, the
statutory analysis is thus limited to consideration of extraordinary and compelling reasons, and
the sentencing factors contained in 18 U.S.C. § 3553(a). See id.
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       Seriousness of the Offense: Under § 3553(a)(2), the Court must consider the seriousness

of the underlying offense. The underlying offense here is very serious: it involves murder. In

2008, Jaquez participated in a violent conspiracy with two co-defendants to rob Campusano at

his place of residence. (PSR, at 24.) He played a substantial role in that conspiracy: he

recruited two robbers to execute the heist and supplied them with a gun in furtherance of that

criminal objective. (Id.) He did not intend or contemplate that someone would die as a result of

his actions. But someone did and a needless death was suffered. Thus, because these actions

constitute serious offenses without justification, the seriousness of the offense factor counsels

against granting compassionate release. 18 U.S.C. § 3553(a)(2).

       Deterrent Effect and the Need to Protect the Public: According to his submissions,

Jaquez asserts that serving time in prison has reformed him of his criminal propensities, and

hence, that he no longer presents a danger to the public. (Pro Se Br. at 6–7; Jaquez Br. at 13.)

To show his rehabilitation, he points to his work with his facility’s sanitation crew, his

completion of several educational programs, and the help he has provided fellow inmates in

preparing for their GED exams. 9 (Pro Se Br. at 6; Jaquez Br. at 13.)

       These examples, while encouraging, do not persuade the Court that Jaquez no longer

poses a danger to the public. (See Sent’g Tr. at 26.) As this Court remarked at sentencing 10:

               Mr. Jaquez has been in and out of jail for the period between 2008 and 2017.
               None of these sentences and jail terms that he served have changed his behavior,
               because as soon as he’s released, he reverted to his drug-dealing business and his
               use of guns, when he felt it was appropriate, and the circumstances of conducting



9
  According to the PSR, Jaquez has committed at least three disciplinary infractions (all coming
in 2019) while serving his prison term. (PSR, at 5.)
10
   During his last period of liberty after being released from prison in 2015, Jaquez immediately
returned to selling narcotics, and on one occasion, discharged a gun at a former friend during a
business dispute. (Gov’t 5K1.1 Letter at 3.)
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               his illegal drug trade. So as I say, these are serious matters and [I] have to
               promote respect for the law and provide just punishment for the offense.

(Id.)

Granting compassionate release, however, when Jaquez has not yet served a substantial majority

of his sentence risks undercutting the deterrence and public safety rationales behind § 3553(a).

Accordingly, these important sentencing objectives further weigh against compassionate release.

See 18 U.S.C. § 3553(a)(2).

        Unwarranted Sentencing Disparities: Granting compassionate release motion would

also incur unwarranted sentencing disparities, in contravention of § 3553(a)(6). According to the

PSR, co-defendant Karilie Herrera was the mastermind behind the 2008 robbery scheme that led

to Campusano’s death, while Sacha Santiago, played a minor role. 11 (PSR, at 24.) The Court

sentenced Herrera to 120-months and Santiago to 35-months, respectively.

        If the Court were to now grant Jaquez’s compassionate release, this would mean that he

would effectively be serving a 45-month sentence, which is substantially disproportionate to the

120-months levied on Herrera. (See Sent’g Tr. at 31). Herrera may have been the mastermind

behind the 2008 conspiracy, but Jaquez rendered comparable contribution by enlisting manpower

and supplying the deadly weapon. (PSR, at 24.) Yet to say that Herrera should serve nearly

three times the time for a comparable degree of participation in Campusano’s death would create

the exact kind of sentencing disparity frowned upon by § 3553(a)(6). Because such a sentencing




11
   In the 2008 attempted robbery, Herrera instructed Santiago and another young woman to visit
Campusano at his place of residence, and on their way out, to leave the door open for the robbers
to enter. (See Gov’t 5K1.1 Letter at 2.) Based on Santiago’s limited role and compelling
mitigating factors, the Court sentenced her to 35-months. (Santiago Sent’g Tr. at 14, ECF 69.)


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disparity is unwarranted and more fundamentally, unfair, to Jaquez’s co-defendants, the

sentencing disparity factor weighs against compassionate release. 12

       History and Characteristics of the Defendant: Finally, § 3553(a) directs the Court’s

attention to the Defendant’s history and characteristics. Jaquez’s childhood of being reared in a

troubled household, the fact that he has a 10-year-old daughter whom he intends to take custody

of upon his release from prison, and the considerably difficult living conditions he has faced due

to the COVID-19 pandemic, see United States v. Franco, 12 Cr. 932 (PAC), 2020 WL 4344834,

at *1 (S.D.N.Y. June 24, 2020), are all mitigating circumstances that evoke compassion for

Jaquez’s cause and weigh in favor of his early release. 13

       At the same time, though, the equities on the other side of the § 3553(a) equation—such

as the seriousness of the underlying offense, the need for further deterrence and public safety,

and avoiding sentencing disparities—outweigh these mitigating factors. The simple but

dispositive fact remains: someone needlessly died in 2008 as a result of Jaquez’s actions.

(Sent’g Tr. at 31) (“The fact of the matter is, somebody is dead and there has got to be

punishment for all of society.”) And since that time, he has cycled in-and-out of prison for

crimes that have endangered his community and broken the faith placed in him by past

sentencing courts. (See id. at 26.) So, cognizant as the Court is of the mitigating factors at play

here, it finds that they are insufficient to justify granting compassionate release.




12
  The Court acknowledges the fact that Herrera, who is currently serving her sentence, may also
move for a sentence reduction under the Compassionate Release Statute. The Court does not
express any legal or factual position with respect to the merits of such a motion.
13
  Jaquez also cites his mother’s declining health as another mitigating factor favoring
compassionate release. (Jaquez Br. at 1.) His mother, however, currently resides in the
Dominican Republic, (Pro Se Br. at 4), so it is unclear how granting Jaquez’s request of home
confinement in the United States will materially benefit his ability to care for his mother.
                                                  9
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       Finally, Jaquez’s 70-month sentence already represents a substantial reduction from the

severe punishment he initially faced without the benefit of a cooperation agreement. The

Guidelines initially exposed Jaquez to a sentencing range of 360-months to life imprisonment;

and Counts One, Four, and Five of his plea agreement each carried mandatory minimum

sentences. However, because of the Government’s 5K1.1 motion at sentencing and his personal

mitigating circumstances, the Court substantially reduced his sentence to 70-months. Any

further reduction at this time would not be consistent with the sentencing factors set forth in §

3553(a) and would be an affront to the loss and grief experienced by the victim’s family. 14

Accordingly, upon due consideration of the § 3553(a) factors, the Court concludes that they

would not be well served by granting Jaquez’s motion for compassionate release.




14
  During Herrera’s sentencing, the Government read the following letter from the victim’s
family:

       In June 2008 my brother, Maximiliano Campusano, was murdered. Words cannot
       express the pain, suffering and confusion you feel when a family member is murdered. I
       can’t comprehend why or how someone can take the life of a human being with no regard
       or even think the effect it may have on others. He lived with my mother until the day he
       was murdered. It left my mother very depressed. It had a tremendous emotional effect
       on our mother. No mother should have to bury her son. I’m sorry my poor mother had
       to. He didn’t get the chance to marry or have kids before his murder. When we speak
       about him we always wonder: What if he was alive? How many kids would he have?
       Since he loved kids so much. His murder was senseless, and will forever leave a hole in
       our hearts. Thank you so much.

(Herrera Sent’g Tr. at 12–13, ECF 64.)
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                                         CONCLUSION

       Jaquez’s motion for compassionate release is DENIED without prejudice as to its

renewal should his health conditions or the status of infections at his facility materially worsen.


 Dated: New York, New York                         SO ORDERED
        March 8, 2021


                                                   ________________________
                                                   PAUL A. CROTTY
                                                   United States District Judge




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